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1 UNITED STATES DISTRICT COURT

2 FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
3 SOUTHERN DIVISION

4

5 KASEY D. ALVES,

6 Plaintiff,

7 vs. CAUSE NO.: 1:06cv912 LG-JMR

8 HARRISON COUNTY MISSISSIPPI, BY AND
THROUGH THE BOARD OF SUPERVISORS;

9 HARRISON COUNTY SHERIFF'S DEPARTMENT;
SHERIFF GEORGE PAYNE, JR.; AND,

10 HEALTH ASSURANCE, LUC.,

11 Defendants. |
12
13 DEPOSITION
14 OF
15 CHARLES LARRY BENEFIBLD
16 Taken on behalf of the Plaintiff
17 10:49 a.m., Wednesday, March 12th, 2008
18 before
19 / Lisa H. Brown, CSR #1166
20
21
22
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CHARLES LARRY BENEFIELD,
having been produced and first duly sworn, was

examined and testified as follows:

EXAMINATION
BY MR. PRINGLE:
Q. Please state your name.
A. Charles Larry Benefield.
QO. Mr. Benefielid, you served as a member of the

Harrison County Board of Supervisors?

A. Yes.

Q. And what years did you serve?

A. From, I think, 1991 to January the 6th of
'O8B.

QO. And during that time, at various times, you

also served as president of the Board?

A. Yes.

QO. Do you remember how many occasions you served
as president?

A. Gee. Approximately seven out of the -~ the
so many years that I was on the Board, sixteen years.
I don't remember the exact date. hast year, 2007,
would have been one of them. Early 2000 to 2004,

maybe.

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Q. So you were a member of the Board of
Supervisors, then, when the Consent Judgment was
entered by the United States District Court on January
12, 1995; is that correct?

A. Yes.

Q. And I guess as a member of the Board, then,
you would have been involved in the approval of the
this agreement; is that correct?

A. Can I have just a second? Let me look.

Q. Sure. Take your time.

MR. PEDERSEN: Is this Exhibit 1 we're
looking at?
MR. PRINGLE: Yes, Exhibit 1.
A. Yes.
BY MR. PRINGLE:

Q. Okay. Let me go through some of these pages
with you.

MR. MEADOWS: Excuse me. Off the record.

(OFE the record.)

BY MR. PRINGLE:
Q. On page three of the judgment, if you'll look
at that, paragraph five. Do you see that?

A. Uh-huh (indicating yes.)

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Q. It says, "'Defendants' shall refer to
Harrison County, Mississippi," and then there are some
other entities listed, but you understood that
Harrison County, Mississippi was a defendant in this
lawsuit?

A. Yes.

Q. And then on page four, go down to Roman
Numeral IV. The last paragraph, A, it says, Security
and Supervision.

Do you see that?

A. Uh-huh (indicating yes.)

Q. It says, "Defendants shall provide a safe and
secure living environment to all inmates housed at
Hepc."

Do you see that?

A. Uh-huh (indicating yes.)

Q. And one of the Defendants, again, that
they're referring to is Harrison County, Mississippi;

is that correct?

A. It's referring to the County and the sheriff,
yes.

Q. One of them is Harrison County, Mississippi?

A. Yes.

©. And then, it says, "To this end, Defendants

shall undertake corrective measures in each of the

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following areas"; is that correct?
A. Uh-huh (indicating yes.)
Q. Okay. And on page five, number twelve, one

of the areas they're talking about is staffing; is that

correct?
A. Yes.
Q. During the time that you served as a member

of the Board of Supervisors, was staffing at the jail a
continuous issue with the sheriff?

A. Yes.

Q. And as far as the management of the Harrison
County Jail, what role, if any, does the Board of
Supervisors play in that?

A. Only from a fiscal responsibility of
providing a budget to the sheriff.

Q. In that process, the sheriff submits a budget
to the Board?

A. Yes.

Q. And then the Board takes what action once the
budget is submitted?

A. We approve or disapprove it.

Q. All right. And staffing. One of the issues
on staffing is the funding of the staff; is that
correct?

A. Yes.

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A. No, Sir. We were of the understanding that
the sheriff's attorney would make those reports, and we
never received anything telling us that he did receive
them -- that the court did receive them.

Q. Do you know if the Board ever requested to
see a copy of the status report?

A. I think several times we had requested it,
but not necessarily in this time frame. But in later
years, I think we probably did.

QO. Well, let's say between the calendar years
2000 and 2006, do you remember the Board ever
requesting a copy of the status reports?

A. I think only one time, and that had to do
with when the Justice Department had some issues with
the staffing, I think we requested to see some. I
don't know if we ever got them, but I think we
requested them. We did, at many times, ask for the
filing of the reports. And the answer we always
received was, yes, and that was through the sheriff's
department's attorney.

Q. How did the Board ensure compliance with this
Consent Decree?

A. Basically, it was the -- you know, in order
to consent with this decree, most of the authority

lies with the sheriff. All we could do was depend on

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the Justice Department that if -- you know, if
something was not being done properly per the consent
order, that they would notify the Board of Supervisors
that we were not in compliance.

Q. So did the Board in any way monitor
compliance with the Consent Decree?

A. No, Sir, other than when the sheriff
requested things that he needed to meet the decree, we
provided the financing to do that.

Q. So the Board relied upon the sheriff to
comply with the decree?

A. Yes, sir.

Q. Are you aware of a July 20, 2005 letter from
the U.S. Department of Justice to the Board concerning
concerns they had at the Harrison County jail?

A. Was that considered staffing? Is that what
that was concerning?

Q. Well, part of it had to do with incidents of
misuse of force. Do you recall receiving a copy of
that letter?

MR. MEADOWS: This is a letter and not a
report? Are you talking about a letter or
report?

MR. PRINGLE: A letter.

A. This was 2002?

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A No, sir.

QO. Have you ever seen them?

A No, sir.

Q. Have you ever seen the sheriff's general
orders?

A. No, sir.

QO. Have you ever asked to see them?

A. No, sir.

Q. T'll take Exhibit 1 back and trade with you

and give you Exhibit 2.
A. Thank you.
QO. And ask you to take a look at that and see if

you have ever seen that before.

A. I have.

Q. Have you had a chance to read it prior to
today?

A. I think we reviewed it. It was back in the
nineties. I can't remember the exact year. ET don't
see a date of the report. I'm guessing it was the
mid-nineties, '96, '7, '5S, somewhere in that time
frame.

Q. But, to your knowledge, you have seen the

report before?
A. Yes, sir, I have.

Q. All right. Turn to page two. The second

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paragraph says, "Detention staff does not uniformly
receive pre-service training and annual in-service

programs are not being regularly provided."

Were you aware of that finding?
A. I'm sure -- I read over it. I'm sure I read

it at one time.

Q. Do you recall that finding?
A. No, sir. I just remember vaguely the report.
Q. T'm not going to cover everything, but I want

to cover some things.

A. Sure.
Q. The next sentence says, "The majority of
training is currently on-the-job." Were you aware of

that finding?

A. Yes, sir.
Q. The last paragraph, page two. It says, "The
morale of the staff is extremely low." Were you aware

of that finding?

A. It seems that I do. At that time, yes.

Q. Would you agree with that finding?

A. At that time, yes.

Q. And, again, I'm talking about as it pertains

only to the jail, not the rest of the sheriff's

department.

A. Yes.

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Q. And it says, "Staff claimed they are
overworked." Were you aware of that finding?

A. TI heard those complaints, yes, sir.

Q. Did you agree with that finding?

A. At that time, yes, sir.

Q. Go to page three and go down to the bottom,

the last paragraph. It says, "Due to inadequate

staffing levels." Do you see that?

A. Yes, sir.

Q. Were you aware of that finding?

A. Yes, sir.

Q. Would you agree with that finding?

A. At that time, yes, I think there was some
issues out there. And this is just my opinion based on

what, you know, I know of the jail, which is very
little.

Q. And the next finding says, "poorly-trained
staff." Were you aware of that finding? I'm still on

page three, the same paragraph.

A. Yes, sir.

Q. And would you agree with that finding?

A. I wouldn't -- I wouldn't know if that were
the case. That was what we were told. I mean, I don't

know actually, because we were never privileged to the

training they received at the jail, other than what

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we've read in that report.

©. And next, on that same line, it says,
"limited supervision." Were you aware of that
finding?

A. If it would have been in the report, I would

have read that. I don't recall being knowledgeable of
that, but if it was in a report, I would have read it.

Q. Would you agree or disagree with that
finding, or have no opinion?

A. No, Sir, I have no opinion. I wouldnit have
had the knowledge, other than this report, to know that
for a fact.

Q. And then going to the next sentence -- not
"crowded conditions" -- but then, it says, "failure to
follow established policy and procedures."

Were you aware of that finding?

A. Again, I read the report, yes, sir.

Q. Turn to page four. Go to the -- actually, it
will be the third paragraph, the part that starts with
"Staff should be held accountable."

Do you see that?

A. Yes, sir.

Q. Go to the second sentence. "Retaining
personnel who are negligent in their duties and/or not

holding them fully accountable for their actions, does

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